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                UNITED STATES ATTORNEY’S OFFICE
                    DISTRICT OF NEW MEXICO
                   ALBUQUERQUE, NEW MEXICO

                          Dulce Isabel Ramos Burciaga
                                   Interview
                                 August 4, 2017
                                      11:33



Participants:

Dulce Isabel Ramos Burciaga                           DIR
DEA Special Agent Larry Pantoja (Lorenzo)             LP
DEA Special Agent David Nutley                        DN


Key:

Unintelligible                                        UI
Ininteligible                                         II
Inaudible                                             IA
Phonetic                                              ph
Fonético                                              f


Conversation transcribed as spoken

Transcribed and Translated by: L.S. NIV USANM
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-Ruidos-                                          -Noises-


LP:    (UI)                                       (UI)


DN:    It is.


LP:    Okay. Dulce, can I call you Dulce? Is      Okay. Dulce, can I call you Dulce? Is that
       that okay? Or Isabel? Which one do you okay? Or Isabel? Which one do you
       prefer? ¿Cuál nombre prefiere?             prefer? Which name do you prefer?


DIR:   Dulce.                                     Dulce.


LP:    Okay. ¿Entiende inglés también?            Okay. Do you understand English too?


DIR:   Poquito.                                   A little bit.


LP:    ¿Poquito? Okey, yo soy Lorenzo. Soy        A little bit? Okay, I’m Lorenzo. I’m an
       un agente, agente con el DEA, DEA y        agent, agent with DEA, DEA and (UI) too.
       (II) también. Okay. Today is August        Okay. Today is August 4th, uh, 2017. The
       4th, uh, 2017. The time is 11:33. Uh,      time is 11:33. Uh, present in the room is
       present in the room is Special Agent       Special Agent Larry Pantoja, Special
       Larry Pantoja, Special Agent uh, Special   Agent uh, Special Agent David Nutley
       Agent David Nutley and…¿puede decir        and…can you say your name?
       tu nombre?


DIR:   Dulce Ramos.                               Dulce Ramos.


LP:    Tu, tu nombre completo.                    Your, your full name.


DIR:   Dulce Isabel Ramos Burciaga.               Dulce Isabel Ramos Burciaga.

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LP:    Okay. Uhm, we’re gonna, va, vamos a,          Okay. Uhm, we’re gonna, w, were going
       nosotros vamos a hacer un interview ah,       to, we are going to do an interview uh,
       lo que, lo que pasó en el tr, en el bus hoy   what, what happened on the tr, on the bus
       día, or esta noche. Ah, antes que em,         today or tonight. Uh, before I st, start, I
       empiece te quiero preguntar, cuando           want to ask you, when uhm, “J”, the other
       ahm, paró el otro policía “J”, te estaba      officer stopped you, he was speaking to
       hablando en inglés, ¿tú entendía todo lo      you in English. Did you understand
       que te ‘taba diciendo? Porque yo oí que       everything he was telling you? Because I
       tú ‘tabas hablando con él.                    heard you talking to him.


DIR:   M, más o menos.                               M, more or less.


LP:    Okay. The, the question was asked uh, if      Okay. The, the question was asked uh, if
       she understood everything that “J” was        she understood everything that “J” was
       asking her uh, in English uh, at, at the      asking her uh, in English uh, at, at the bus
       bus station and I told her that uhm, from     station and I told her that uhm, from me
       me listening, it seemed like she was          listening, it seemed like she was having
       having conversation, understanding.           conversation, understanding. Uhm…
       Uhm… Cuando tú dices más o menos,             When you say more or less, did you
       ¿entendiste todo cuando él te preguntó        understand everything when he asked you
       ah, por permiso para mirar tu bol, ah,        uh, for permission to look at your pur, uh,
       revisar tu bolsa?                             search your purse?


DIR:   Mjm.                                          Mh-hm.


LP:    So I asked her if she understood when         So I asked her if she understood when “J”
       “J” asked her uh, for permission uh, to       asked her uh, for permission uh, to search
       search her bag and she said yes. Ah, ¿so      her bag and she said yes. Uh, so you



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       entendiste…todo lo que te ‘taba d, ah,     understood…everything that he was s, uh,
       hablando?                                  talking?


DIR:   Sí, más o menos.                           Yes, more or less.


LP:    Okay. So she said yes, she understood
       what “J” was asking. Uhm… Do you
       have a spare uhm…?


DN:    Yeah. What, do we have one of the
       sheets or do we need one?


LP:    He could not find one he said.


DN:    I have one.


LP:    All right.


DN:    Let’s just hold off so I can get it.


LP:    Okay.


-Bips, ruidos-                                    -Beeps, noises-


LP:    I thought there were some upstairs so he
       can…


DN:    Yeah, I have some.


LP:    Okay.

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-Pausa en la conversación-                            -Pause in the conversation-


LP:    Él no entiende español, so tengo decir         He doesn’t understand Spanish, so I have
       todo…en inglés también.                        to say everything…in English too.


DIR:   ¡Ay, (II)!                                     Oh, (UI)!


LP:    Te voy, so él puede entender también, te       I’m going to, so he can also understand,
       voy a hablar en español y inglés pa’ que       I’m going to talk to you in Spanish and
       pueda entender.                                English so he can understand.


DIR:   (Suspirando)                                   (Sighing)


LP:    Si tú no entiende, párame. Si yo hablo         If you don’t understand, stop me. If I
       inglés y no me entiende, párame y te digo speak English and you don’t understand
       en español, ¿okey?                             me, stop me and I’ll say it to you in
                                                      Spanish, okay?


DIR:   ¿Puedo hacer una llamada?                      Can I make a call?


LP:    Sí, ah…te vamos a dejar hacer una              Yes, uh…we’re going to let you make a
       llamada cuando terminemos de aquí.             call once we finish here. Uhm, I don’t
       Ahm, y no sé si yo o (II) te va a llevar       know if I or (UI) is going to take you
       a…otro lugar maybe como dos, dos horas to…another place maybe like two, two
       ma’, ma’ o menos, no sé. Tengo que             hours more, more or less, I don’t know. I
       esperar a, al otro, “J” (II) lo que te ‘taba   have to wait for, for the other, “J” (UI) was
       hablando en el, en el bus. Ahm…pero            talking to you at, at the bus. Uhm…but
       cuando nosotros te llevamos, tú puedes         you can use the phone once we take you,
       usar el teléfono, pero ahora mismo, no.        not right now.

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DIR:   Pero no me sé los números de teléfono.     But I don’t know the phone numbers. Can
       ¿Puedo ver mi teléfono? ¿Sacar números     I see my phone? Get numbers out of my
       de mi teléfono?                            phone?


LP:    ¿Ese es tu teléfono? Okey. Antes que te, Is that your phone? Okay. Before I,
       antes que te puedo preguntar, tener…está   before I can ask you, have…he’s getting a
       cogiendo un papel pa’…ah, decirte tu       paper to…uh, tell you your rights. Right
       derecho. ‘Orita… Adverta, ah, adver (II)   now… Advi, uh, advi (UI), uh, advise you
       ah, advise you of your rights, tus         of your rights, your right.
       derecho.


-Pausa en la conversación-                        -Pause in the conversation-


-Contador 5.07-                                   -Meter 5.07-


DIR:   ¿Hay manera de que no me encierren?        Is there a way for me not to be locked up?


LP:    ¿Dime?                                     What was that?


DIR:   ¿Hay manera de que no me encierren?        Is there a way for me not to be locked up?


LP:    No, yo no creo.                            No, I don’t think so.


-Bips, ruidos-                                    -Beeps, noises-


LP:    ¿Puedes leer en español?                   Can you read in Spanish?


DIR:   ¿Todo?                                     All of it?



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LP:    Por…                                        For…


DIR:   ¿En voz alta o lo…?                         Out loud or…?


LP:    No, mí, tú…                                 No, I, you…


DIR:   ¿S, para mí? Si…                            S, to myself? Yes…


LP:    ¿Tú entiendes? ¿Tú puedes leer en           Do you understand? Can you read in
       español? Okey, te voy a leer… Yo, yo        Spanish? Okay, I’m going to read to
       lo voy a decir y tú puede leer. Okey.       you… I’m, I’m going to say it and you can
       Adverte, advertencia de derecho. Antes      read. Okay. Noti, Notice of Rights.
       que hacer cualquier pregunta, usted tiene   Before asking any questions you must
       que entender sus derechos. Usted tiene      understand your rights. You have the right
       el derecho de permanecer en selen, en       to remain sel, in silence. Anything you say
       selencio. Cualquier cosa que usted diga,    can be used ag, against you in court.
       puede ser usada en, en su contra ante un    Before, before asking you any questions,
       tribunal. Antes de, de hacer cualquier      you have the right to consult with an
       pregunta, usted tiene derecho de            attorney. You have the right to have an
       consultar con un abogado. Usted tiene       attorney present during questioning. If you
       derecho de tener un abogado presente        can’t pay the services of an attorney, one
       durante el enterrogatorio. De no poder      will be appointed to you before asking any
       pagar los servicios de un abogado, si       questions if you so desire. Have you
       usted lo desea, se le nombrará uno antes    understood your rights?
       de hacer cualquier pregunta. ¿Has
       entendido sus derechos?


DIR:   Mjm.                                        Mh-hm.




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LP:    ¿Estás despue, ah, despuesto a contestar   Are you wil, uh, willing to answer some
       algunas preguntas?                         questions?


DIR:   Mmmm…con mi abogado.                       Mmmm…with my attorney.


LP:    ¿Con tu abogado?                           With your attorney?


DIR:   Mjm.                                       Mh-hm.


LP:    Okey. She says she understands her         Okay. She says she understands her rights
       rights and uh, she’s willing to answer     and uh, she’s willing to answer questions
       questions with her lawyer present.         with her lawyer present.


DN:    Okay.                                      Okay.


LP:    So, should we just have her sign it or…


DN:    No.


LP:    …just (UI)? No? Okay.


DN:    All set.


LP:    Okey, so si quiere tu abogado… I’m just    Okay, if you want your attorney… I’m just
       tellin’ her. She wants a lawyer ah,        tellin’ her. She wants a lawyer uh, we’re
       nosotros no, no…ya lo vamos a parar.       not, not…we are going to stop it. We can’t
       No te podemos preguntar nada so vamos      ask you anything so we’re going to stop it
       a pararlo ahora mismo, ¿okey? Okay, so     right now, okay? Okay, so I’m just tellin’
       I’m just tellin’ her we can’t ask her      her we can’t ask her anymore questions an
                                                  we’re gonna stop the interview now.

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       anymore questions and we’re gonna stop
       the interview now.


DN:    Okay.


LP:    Uhm, ask her this or…?


DN:    Yeah, sure.


LP:    ¿Me da permiso a…mirar tu te, tu         Will you give me permission to…look at
       teléfono?                                your te, your phone?


DIR:   No.                                      No.


LP:    ¿No? Okey. (UI) the phone. Okay,         No? Okay. (UI) the phone. Okay, that’s
       that’s it.                               it.


-Ruidos-                                        -Noises-


LP:    Te vamos a poner en ese cuarto donde     We are going to put you in the room that
       estaba ante y después nos vamos          you were in before and then we’ll leave in
       como…maybe se a demorar como dos         about…maybe it’ll take like two hours…
       horas…


-Grabación termina abruptamente-                -Recording ends abruptly-




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